AO 450 (Rev. 5/85) Judgment in a Civil Case ⊗




            United States District Court
                                       EASTERN DISTRICT OF WISCONSIN

                                                             JUDGMENT IN A CIVIL CASE
            THOMAS FRAME,
            on behalf of himself and others similarly situated,
                       Plaintiff,

                         v.                                       CASE NUMBER: 22-CV-1016

            KOHL’S CORPORATION, et al.,
                    Defendants.




☐           Jury Verdict. This action came before the Court for a trial by jury. The issues
            have been tried and the jury has rendered its verdict.

☒           Decision by Court. This action came to trial or hearing before the Court. The
            issues have been tried or heard and a decision has been rendered.

       IT IS ORDERED AND ADJUDGED that this case is DISMISSED for failure to
state a claim upon which relief can be granted.




11/5/2024                                                                 Gina M. Colletti
Date                                                              Clerk

                                                                  /s/ Alexis H.
                                                                  (By) Deputy Clerk




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